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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                               Plaintiff,

                  v.                                    Civil Action No. 1:20-cv-03590 (JEB)

                                                                PUBLIC VERSION
META PLATFORMS, INC.

                               Defendant.


                  Plaintiff Federal Trade Commission’s Motion in Limine
            to Exclude Testimony of Jason Nieh Regarding Alleged Cost Savings

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), and for the reasons set forth in the accompanying memorandum of

law and supporting documents, Plaintiff Federal Trade Commission (“FTC”) hereby moves this

Court for an order in limine excluding the opinions of Defendant Meta Platforms, Inc.’s

(“Meta’s”) expert Jason Nieh regarding purported infrastructure cost savings arising from Meta’s

acquisitions of Instagram and WhatsApp. Specifically, the Court should exclude Nieh’s cost-

savings opinions under Rule 702 because they are not based on sufficient facts or data, they are

not the product of reliable principles or methods, and Nieh is not qualified to offer them.

       Pursuant to Local Civil Rule 7(m), counsel for the FTC and Meta conferred regarding

this Motion in Limine.




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Dated:   February 21, 2025       Respectfully submitted,

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                   IN THE UNITED STATES DISTRICT COURT
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FEDERAL TRADE COMMISSION,

                          Plaintiff,

              v.                                Civil Action No. 1:20-cv-03590 (JEB)

                                                       PUBLIC VERSION
META PLATFORMS, INC.

                          Defendant.



 Plaintiff Federal Trade Commission’s Memorandum of Law in Support of Plaintiff’s
 Motion in Limine to Exclude Testimony of Jason Nieh Regarding Alleged Cost Savings
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       Meta seeks to defend its illegal monopoly of personal social networking services

(“PSNS”) by asserting certain procompetitive justifications that it claims arise from its

acquisitions of Instagram and WhatsApp. One of those purported justifications—that moving

Instagram and WhatsApp to Meta’s infrastructure allegedly provided them cost benefits, i.e.,

saved costs—is based on unsupported and unreliable opinions offered by Meta’s unqualified

expert witness, Professor Jason Nieh (“Nieh”). The Court should exercise its gatekeeping

function under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), and not permit Nieh to offer these improper opinions at trial.




                                                          and

                                                                               see also, e.g., id.

¶¶ 13, 15 & §§ III.C.2, IV.D, V.B.2(c). But these threadbare                            do not

satisfy Rule 702’s requirements for three reasons.

       First, they are not based on sufficient facts or data.



                                                                             He thus lacked the

information he would have needed to conclude that Meta’s costs are comparatively superior to

any alternatives. Second, Nieh’s cost-savings opinions are not the product of an accepted or



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reproducible methodology for analyzing infrastructure costs. He did not perform any of the

existing analytical tools commonly used by online services to gauge their costs, such as a total-

cost-of-ownership (“TCO”) evaluation, a rent-versus-buy analysis, or an allocation of costs per

daily active user (“DAU”). Instead, he merely quoted a handful of internal Meta documents that

recount alleged savings without verifying their sources or replicating their methods, which is

improper because it is “essentially no methodology at all.” Berkley Ins. Co. v. Fed. Hous. Fin.

Agency, 2023 WL 4744155, at *2 (D.D.C. July 25, 2023) (citation omitted). Third, Nieh is

unqualified to opine on purported infrastructure cost savings because he does not possess

specialized “knowledge, skill, experience, training, or education.” Fed. R. Evid. 702.

       Nieh’s cost-savings opinions are therefore inadmissible under Rule 702 and the FTC files

this limited, narrow motion in limine to exclude them from trial. The Court should grant the

motion and thereby conserve its limited time and attention by removing one discrete issue from a

trial teeming with other factual and legal disputes.

                                       LEGAL STANDARD

       In Daubert, the Supreme Court held that Rule 702 assigns trial courts “a gatekeeping

role” in “ensuring that an expert’s testimony both rests on a reliable foundation and is relevant to

the task at hand.” 509 U.S. at 597 (1993); see also Kumho Tire Co. v. Carmichael, 526 U.S. 137,

147-48 (1999) (extending trial court’s “gatekeeper” role to all types of expert testimony).

Rule 702 requires that to offer an expert opinion a witness must be “qualified as an expert by

knowledge, skill, experience, training, or education” and the party proffering the opinion must

“demonstrate[] to the court that it is more likely than not that:

   a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact
      to understand the evidence or to determine a fact in issue;

   b) the testimony is based on sufficient facts or data;


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   c) the testimony is the product of reliable principles and methods; and

   d) the expert’s opinion reflects a reliable application of the principles and methods to the
      facts of the case.”

       To determine the admissibility of an expert opinion, courts must assess whether it is

reliable. The court’s “focus, of course, must be solely on principles and methodology, not on the

conclusions that they generate.” Daubert, 509 U.S. at 595. Courts consider various factors when

examining reliability, including “(1) whether the expert’s theory or technique can be and has

been tested; (2) whether the theory or technique has been subject to peer review and publication;

(3) the theory or technique’s known or potential rate of error; and (4) whether the theory or

technique has been generally accepted within the relevant scientific community.” Inova Health

Care Servs. for Inova Fairfax Hosp. v. Omni Shoreham Corp., 2024 WL 4534156, at *2 (D.D.C.

July 16, 2024). “Even reliable expert testimony, though, must be ‘helpful to the trier of facts in

th[e] case.’” Garcia v. GGI Glass Distrib. Corp., 2024 WL 4253161, at *2 (D.D.C. Sept. 19,

2024) (quoting Parsi v. Daioleslam, 852 F. Supp. 2d 82, 88 (D.D.C. 2012)). Applying those

reliability standards, courts have declined to admit expert opinion if it “is connected to existing

data only by the ipse dixit of the expert” or if “there is simply too great an analytical gap between

the data and the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       Courts determining whether a witness is properly qualified to opine on a certain topic

look to “whether [the witness’s] qualifications provide a foundation for a witness to answer a

specific question.” Bunting v. D.C. CVS Pharmacy, LLC, 2024 WL 474159, at *2 (D.D.C. Feb.

7, 2024) (emphasis in original). To be qualified, “the expert’s background must match the

subject matter of the expert’s testimony.” Id. (citation omitted); see also Inova Health Care

Servs., 2024 WL 4534156, at *4 (prohibiting expert from opining on topic because proponent

“ha[d] not provided any credentials to qualify [the witness] as an expert” in that topic).


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                                           ARGUMENT

       Nieh’s cost-savings opinions—including that Meta’s infrastructure provided

          to Instagram and WhatsApp and                                                as

                                                 —fail under Rule 702 because Nieh did not know

or attempt to quantify Meta’s actual infrastructure costs arising from its acquisitions of Instagram

or WhatsApp and he did not perform any of the accepted or reliable quantitative cost-savings

analyses that were available to him. Further, his background in electrical engineering—not

accounting, finance, economics, or any other field involving quantitative cost analysis—does not

qualify him to offer opinions on Meta’s purported cost savings here.

I.     Nieh’s Cost-Savings Opinions Are Not Based on Sufficient Facts or Data

       Nieh’s cost-savings opinions should be excluded under Rule 702(b) because he lacked

the necessary information to render them; namely,




An opinion that Meta’s infrastructure costs are superior to those that Instagram and WhatsApp

would have incurred absent their acquisitions would necessarily require some attempt to quantify

Meta’s actual historical and ongoing costs to operate Instagram and WhatsApp. Nieh does not

dispute that obvious point; his report states that,



                                                                                            But Nieh

never determined

                     and therefore his cost-savings opinions—

                                                          —are unreliable and fatally flawed.

       Some background is in order. Meta has asserted cost savings as a “procompetitive
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       Meta also asserted that,

                                                            . But Meta’s only proffered expert on

that issue—




                     As such,

                                                       of Meta’s infrastructure costs to any

alternatives, and his related cost-savings opinions—

           —must be excluded for lack of sufficient facts or data. See Garcia, 2024 WL

4253161, at *5 (excluding expert testimony “that [was] not ‘supported by good grounds for each

step in the analysis’”) (quoting Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 267

(2d Cir. 2002); see also United States v. H&R Block, Inc., 833 F. Supp. 2d 36, 89 (D.D.C. 2011)

(ruling in Clayton Act case “it is incumbent upon the merging firms to substantiate efficiency

claims”) (internal quotation marks omitted); Illumina, Inc. v. Fed. Trade Comm’n, 88 F.4th 1036,

1060 (5th Cir. 2023) (finding merging parties’ claimed efficiency of “significant supply chain and

operational efficiencies” was unverifiable because they failed to provide “an underlying model,

including the assumptions upon which it was based”).

       Rather than forming his opinion using Meta’s actual infrastructure costs, Nieh’s report

instead regurgitated Meta’s internal information



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                                                                                          For

Instagram,




             See id. at 43-54. Nieh also did nothing to verify the information in these

         sources, and the Court should not condone his attempt to simply restate Meta’s internal

information under the guise of expert opinion. See Gilmore v. Palestinian Interim Self-Gov’t

Auth., 843 F.3d 958, 973 (D.C. Cir. 2016) (ruling that when factfinder is “just as competent to

consider and weigh the evidence as is an expert witness and just as well qualified to draw the

necessary conclusions therefrom, it is improper to use opinion evidence for the purpose”)

(quoting Henkel v. Varner, 138 F.2d 934, 935 (D.C. Cir. 1943); United States v. DynCorp Int’l

LLC, 715 F. Supp. 3d 45, 64 (D.D.C. 2024) (excluding expert opinion premised on documents

when factfinder could “read the emails and presentation and can determine for itself” the

disputed issue); Ex. 4 (Transcript from United States v. Bertelsmann, No. 21-03886, (D.D.C.

Aug. 17, 2022)) at 2771:9-12 (ECF p. 25) (“It is well established that expert testimony may be

excluded under Rule 702 where the expert relies uncritically on information provided to them by

the party or parties for whom they are working.”).

       The story is much the same for Meta’s cost-savings claim for WhatsApp.




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                                                      The Court does not need Nieh to recite

Meta’s documents and should reject his effort to launder this unverified information into the case

via his “expert” opinion. See Fed. Trade Comm’n v. Sysco Corp., 113 F. Supp. 3d 1, 84 (D.D.C.

2015) (criticizing efficiencies expert for “rely[ing] exclusively on documents created by either

McKinsey or Defendants” and “perform[ing] no independent analysis to verify these numbers”).

       Nieh’s cost-savings opinions related to Instagram and WhatsApp should therefore be

excluded because they are not based on sufficient facts or data.

II.    Nieh’s Cost-Savings Opinions Are Not the Product of Accepted or Reliable Methods

       The Court should exclude Nieh’s cost-savings opinions for another reason: they are

unreliable because they are not based on “reliable principles and methods” under Rule 702(c).

Arsanjani v. United States, 2023 WL 3231101, at *5 (D.D.C. May 3, 2023) (excluding opinions

based on expert’s “subjective beliefs”); Berkley, 2023 WL 4744155, at *2 (excluding opinion as

lacking methodology because it was “an unexplained application of [witness’s] expertise”). In

fact, rather than employ analytical methods and tools commonly employed by online services to

assess costs—

                                 —Nieh’s report contains no identifiable methodology at all.

       Start with what Nieh did not do. One available method that Nieh did not employ is the

TCO analysis. Online services commonly use TCO evaluations to measure costs,

                                                              See, e.g., Ex. 6 (

                Ex. 7 (                                             ). And public cloud services

like AWS offer TCO tools that, for example, allow online services “to generate a fact-based

apples-to-apples TCO comparison for on-premises and AWS infrastructure.” Ex. 8 at 1

(announcing launch of AWS’s TCO tool); see also Ex. 9 (TCO calculator provided by Azure,
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another public cloud service, to estimate cost savings possible by migrating workloads to Azure).

       Among other things, TCO evaluations assess the capital costs (upfront) and operational

costs (recurring) that an online service would need to spend to achieve a certain level of

performance. See Ex. 10 at 476-77 (ECF pp. 12-13) (describing TCO evaluations).




                   .



       Another existing methodology for assessing infrastructure costs is a rent-versus-buy

analysis, which compares the value of renting infrastructure services to building and operating

one’s own infrastructure. Like TCO evaluations, rent-versus-buy analyses are also used by

online services.




       Yet a third analytical tool available for evaluating infrastructure costs is to allocate an

online service’s infrastructure costs per number of daily active users (“DAUs”).




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       Rather than apply these common and readily available analytical methods,



                                                                   But while the title of that

textbook suggests it is pertinent,                                                —it is not about

analyzing infrastructure costs for online services, but instead “for computer architects to make

intelligent decisions about whether or not a new feature should be included in designs where cost

is an issue.” Ex. 10 at 27 (ECF p. 5) (emphasis added). Another section of the textbook does

address TCO analyses, see id. at 476,                                             In any event,

                                                              , and courts reject that “‘reading’” a

source “standing alone, is an acceptable methodology.” Parsi v. Daioleslam, 852 F. Supp. 2d 82,

89 (D.D.C. 2012); see also Berkley, 2023 WL 4744155, at *2 (D.D.C. July 25, 2023) (excluding

opinion based on reading irrelevant reports and “unexplained application of . . . expertise”).

       At base, Nieh’s methodology (or lack thereof) underlying his cost-savings opinions does

not comport with the Daubert factors—it cannot be tested, was not subject to peer review, has no

known or potential error rate, and has not been generally accepted within the relevant scientific

community. Daubert, 509 U.S. at 593-94; see also Inova, 2024 WL 4534156, at *2. Nieh’s

resulting “opinions” related to Meta’s purported cost savings are therefore unhelpful and

inadmissible under Rule 702. See, e.g., Illumina, 88 F.4th at 1060 (rejecting asserted efficiency



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where proponent failed to provide “an underlying model”).

III.    Nieh is Not Qualified to Render Opinions About Cost Savings

        Nieh lacks the “knowledge, skill, experience, training, or education” under Rule 702 to

opine on whether Instagram and WhatsApp saved costs they would otherwise have borne by

moving to Meta’s infrastructure.




                                                . That                hardly qualifies Nieh to

offer conclusions concerning Meta’s purported cost savings.

        Nieh’s background does not “match the subject matter of [his] testimony.” Bunting, 2024

WL 474159, at *2. Nor has he “provided any credentials to qualify [himself] as an expert” on

infrastructure cost savings, as would be required to opine on any costs allegedly arising from

Meta’s acquisitions of Instagram and WhatsApp. Inova, 2024 WL 4534156, at *4; see also

United States v. Ausby, 436 F. Supp. 3d 134, 162-63 (D.D.C. 2019) (finding expert unqualified

when “record does not show [he] had experience and training specifically relevant to the kind of

fingerprint analysis his testimony subsequently concerned”). Nieh is no better positioned than

the Court to read the Meta-provided documents he cited. The Court should therefore find him
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unqualified, exclude his unhelpful cost-savings opinions from trial, and—assuming the Meta-

provided documents are otherwise admissible—“determine for itself” the disputed issue.

DynCorp Int’l, 715 F. Supp. 3d 45, 64.

                                         CONCLUSION

       The Court should exclude Nieh’s cost-savings opinions under Rule 702 for all of the

foregoing reasons—his lack of qualifications, lack of sufficient facts or data, and lack of

accepted or reliable methodology.



 Dated:   February 21, 2025                 Respectfully submitted,

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        I HEREBY CERTIFY that on the 21st day of February 2025, I served the sealed document on
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